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                               U NITED STA'FES D ISTRICT CO UR T
                               SOU TH ERN D ISTRICT O F FLOR ID A
                           CASE NO.17-80242-CR-ROSENBERG/1IUNT                           Seale
    UN ITED STA TES O F AM ERICA
                                                                                              ! t
                                                                                    FILED by2-..
                                                                                               2-
                                                                                                ,
                                                                                                D D.c.

    A LEJAN DRO AND RA DE CEDENO ,                                                    N2V (11 2218
                                                                                      STEVEN M LARIMORE
             D efendant.                                                              c LERK U syDIsT cT.
                                           /                                           lE
                                                                                        ?s9f-F
                                                                                             )!
                                                                                              sp.r-VAMI
          UN ITED STATE S'UNO PPO SED M O TIO N FO R PR ELIM INA RY O R DER O F
           FO RFEITURE ,AN D M EM O R ANDU M OF LA W IN SUPPO R T TH EREO F

             Pursuantto18U.S.C.j982(a)(1),andtheproceduressetforthin21U.S.C.j853andRule
    32.2(b)(2)oftheFederalRulesofCriminalProcedure,theUnitedStatesofAmerica(thettunited
     States'')hereby movesforthe entry ofa Preliminary OrderofForfeiture againstDefendant
    AlejandroAndradeCedenointheabove-captionedmatter. TheUnitedStatesseeksaforfeiture
     moneyjudgmentintheamountof$1billion inU.S.currency,andtheforfeitureof'certainassets
     in partialsatisfaction thereof. ln supportofthis m otion,the United States providesthe attached

     Consentto Forfeiture and the follow ing factualand legalbases.

        1.    FAC TUAL BAC K G RO UND AND PR O CED UR AL HISTO RY

                   On December22,2017,DefendantAlejandroAndradeCedeno(theûûDefendant'')
     pleaded guilty to a single-countlnform ation,which charged him w ith conspiracy to violate 18

     U.S.C.j l957,thatis,to knowingly engage and attemptto engage in monetarytransactionsby,
     through, or to a financial institution,affecting interstate and foreign com m erce,in crim inally

     derived property of a value greater than $l0,000,such property having been derived from a

     specitiedunlawfulactivity(i.e.aviolationoftheForeignCorruptPracticesAct,inviolationof15
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                                                              See Information;Plea Agreement!2.
    Seealsoattached Consentto Forfeiture! l.
                  In a written Plea A greem cnt,the Defendantagreed,among otherprovisions,to the

    follow ing-
              .

           11.    The defendant agrees to forfeit to the United States voluntarily and
           immediatelyallproperq,realorpersonal,involved intheviolationofTitle 18,
           United StatesCode,Sectlon 1956(h)charged inthelnform ation,propertytraceable
           to such property,and/orproperty thatconstitute substitute assets,pursuantto Title
           18,UnitedStatesCode,Section982(a)(1)andTitle21,UnitedStatesCode,Section
           853(p). Thedefendantagreesthatsuch propertyincludes,butisnotlimitedto,a
           sum equalin value to the totalam ountlaundered to,by,and/orforthe benefitof
           the defendantaspal4 ofthe charged conspiracy,which the United Statesm ay seek
           asaforfeituremoneyjudgment. Thedefendantadmitsandagreesthattheconduct
           described in the Inform ation and FactualProfferprovides a sufficientfactualand
           statutory basisforthe forfeiture soughtby the Governm ent.

           12.    Thedefendantagreesto w aive any appealofthe forfeiture. The defendant
           waivestherequirementsofRules32.2and43(a)oftheFederalRulesofCriminal
           Procedure regarding notice ofthe fbrfeiture in the lnform ation,announcelnentof
           theforfeiture atsentencing,and incorporation oftheforfeiturein thejudgment.
           The defendantalso waivesany failure by the Courtto advise the defendantofany
           applicable forfeiture at the tim e the guilty plea is accepted as required by Rule
           l1(b)(1)(J)oftheFederalRulesofCriminalProcedure. Thedefendantfurther
           agrees to waive any applicable tim e lim its for the initiation of adm inistrative or
           judicialforfeiture proceedingsand/orfurthernotification ofany sueh forfeiture
           broughtagainstthe property soughtforforfeiture.

           l3.    The defendant also agrees to assist the Governm ent in all proceedings,
           administrativeorjudicial,involvingforfeituretotheUnitedStatesofanyproperty,
           including substitute property, regardless of its nature or form ,real or personal,
           w hichthedefendantorothersknow nto thedefendant,have accum ulated asaresult
           ofillegalactivities. Thedefendantagreesthatthe United Statesshall,atitsoption,
           beentitledtoforfeitureofanyproperty(substituteassets)ofthedefendanttosatisfy
           theforfeituremoneyjudgment. ThedefendantagreesthatallelementsofTitle2l,
           United States Code,Section 853:9 havebeen satisfied. Thedefendantt   krther
           agreesto take a1lstepsnecessary to locate property thatcould be used to satisfy the
           forfeiture money judgment and to pass title to the United States before the
           defendant's sentencing. To that end, the defendant agrees to fully assist the
           Governm ent in the recovery and return to the U nited States of any assets, or
           portions thereof,wherever located.The assistance shallinclude:identification of
           anypropertysubjecttoforfeiture,agreementtotheentryofanorderenjoiningthe
           transfer or encum brance ofsuch property,and the transfer or repatriation ofsuch
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           property to the United States by delivery to the Governm ent, upon the
           Governm ent's request,any necessary and appropriate docum entation, including
           consentsto forfeiture and quitclaim deeds,to delivergood and m arketable title to
           such property. The defendant understands that failure to transfer or repatriate
            propertysubjecttoforfeituremay resultinanobstruction ofjusticeenhancement
            atsentencing.

            l4. The defendant further understands that forfeiture is independent of any
            assessm ents,fines,costs,restitutioll,orany otherpenalty thatm ay be im posed by
            the Court. The defendantknowingly and voluntarily w aivesany claim ordefense
            he may have under the Eighth A m endm ent to the United States Constitution,
            including any claim of excessive fine or penalty w ith respect to the forfeited
            property.

            15. The defendantagreesto m ake fulland accurate disclosure ofhisfinancial
            affairs to the Governm ent,and expressly authorizes the Governm entto obtain a
            creditreport. The defendantagreesthatw ithin l0 calendardaysofhis change of
            plea and upon requestofthe Governm ent,the defendantshallsubm ita cornpleted
            FinancialDisclosure Statement(form provided by the United States),and shall
            fully disclose and identify allassetsin which hehasany interestand/oroverwhich
            the defendant exercises control,directly or indirectly,including those held by a
            spouse,nom inee,orotherthird party.

     SeePleaAgreement!! 11-15. SeealsoattachedConsenttoForfeiture!2.
            3.     A s set forth in the Factual Proffer subm itted in supportof his guilty plea,the

     Defendantw astheVenezuelan N ationalTreasurerfrom approxim ately 2007 to 20ll. SeeFactual

     Proffer!3. ByvirtueofhisofficialpositionastheVenezuelanNationalTreasurer,theDefendant
     had the ability to intluencem attersrelated to the bolivarto U .S.dollarexchange process,including

     deciding which brokerage houses received governm entauthorization to conductthese exchanges

     atafixed exchangerateestablished by the Venezuelan government. 1d.! 6. Seealso attached
     Consentto Forfeiture!3.
                    From approximately 2007 through January 2011,the Defendantagreed to accept

     bribesfrom co-conspirators in exchange forselecting them to carry outthe U .S.dollarto bolivar

     exchange process w ith the Venezuelan N ational Treasury, or O ficina N acional del Tesoro
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     (çûONT'')5which allowed those co-conspirators to obtain substantialprofits on the exchange
    transactions. SeeFactualProffer!7. k
                                       vccalsoattachedConsenttoForfeiture!4.
           5.      From 2007 to the present, when the Defendant requested, at least three co-

     conspirators would transfer or cause the transferof funds to purchase property and pay forhis

     expenses in the Southern D istrictofFlorida and elsewhere. See attached Consentto Forfeiture

    !5. See also FactualProffer !! 10-12:
                                        ;Presentence lnvestigation Report,June 15,20l8,
    !60. Together,thesethree co-conspirators told the Dèfendantthatthey held orare holding
     Venezuelan bondsandotherassetsvaluedatapproximately$1billionin U.S.currencyduringthis

    timeperiodfortheDefendant'sbenefit. SeeattachedConsenttoForfeiture!5.
                   The Defendant has consented and agqeed to the entry of a Forfeiture M oney

    Judgm entin theam ountofatleast$1billion,which isequalto thetotalvalueoftheproperty,
     realorpersonal,laundered to,by,and/or forhis benefitand involved in the m oney laundering

     conspiracy charged in the lnform ation,and property traceable to such property. See attached

     ConsenttoForfeiture!(7.
                   ln partialsatisfaction of such Forfeiture M oney Judgm ent,the Defendanthas

     consented and agreed to the forfeiture ofthe follow ing specific property,among otherproperty,

     thathe obtained,directly and indirectly,asa resultofthe charged m oney laundering conspiracy,

     orwasused topurchase,improve,and/ormaintainassetsfortheDefendant'sbenefit(collectively,
     theidsubjectAssets''):
            FinancialAccounts
            (1)    Al1assetsondepositinaccountnumber0209551AA heldinthenameof,orforthe
                   benefitof,AlejandroAndradeatBSIBankin Switzerland;
            RealEstate
            (2)    15231SunnylandLane,Wellington,Florida33414;
            (3)    l5680and 1574046th Lane:S,W ellinglon,Florida33414;
            (4)    1290N.OceanBoulevard,'.I
                                          ?a1m Beach,Florida33480;
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            (5)    16912 Crown Bridge Drive,DelRayBeach,Florida33446;
            (6)    l5l59 Sunnyland Lane,W ellington,Florida33414;
            (7)    12789 M eadowbreezeDrive,W ellington,Florida33414;1
            Vehicles
            (8)    2017 M ercedes Benz G1I
                                         wS 550, Vehicle ldentification Number (û1VlN'')
                   4JG DF7D E8HA 893079;
            (9)    2017MercedesBenzAMG G-63;
            (10)   2017CadillacEscalade,VlN lGYS4KKJ4HR135174;
            (11)   2016PorscheCayenne,VlA1W P1AC2A26GLA86557;
            (12)   2016ChevyTahoe;
            (13)   2016 M ercedesBenzAM G S-63,VlN W DDXJ7JB3GA012l39
            (14)   20l5BentleyContinentalConvertible,Vm SCBGJ3ZA2FC044777;
            (15)   20l5ChevroletSilverado2500,VlN 1GC4KYC83FFl80852;
            (16)   2014DodgeRam 3500;
            (17)   2013Toyota4Runner,VlN JTEZU5JR4D5048434;
            (18)   2009CimarronHorseTrailer,VlN 5PA14634249C006294;
            (19)   Lawnmower/tractor;
            (20)   Three(3)golfcarts;
            H orses
            (21)   AnastasiaDuPark;
            (22)   Bonjovi;
            (23)   Boy lV;
            (24)   Clouwni;
            (25)   Cortina186;
            (26)   Dipssy;
            (27)   HardrockZ;
            (28)   Jenni'sChance;
            (29)   JolyJumper;
            (30)   LeonardoRGS;
            (31)   NokiadeBrekka;
            (32)   QuilinaVD LaarseheideZ;
            (33)   Reusde laNutria;
            (34)   RicoreCourcelle;
            (35)   TupacVan deVrombautshoeve2;
            (36)   U;
            (37)   TinkerBell;


     1Approximately$100,000ofthe$250,00(1purchasepriceforthisproperty wasfunded by oneof
     the D efendant's co-conspirators',how ever,the rem aining portion was funded by the D efendant's
     w ife and herfam ily. ln recognition ofthepotentialthird-party claim sto such property,theUnited
     States has agreed that ifthe Courtgrants Lhe proposed prelim inary forfeiture,the U nited States
     would t5le a noticeoflispendens and only pursue finalforfeiture ofitsinterestin therealproperty
     ifthatproperty issold.
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          Watches
          (38) Rolex Daytona Cosmograplp(platinum)watch,reference (1CRef') l16506,
               serialnumber((dSN'')L900lJ410;
          (39) RolexYacht-Master11(whi  itegold andplatinum)watch,Ref116689,SN
                V773093;
          (40) RolexSkyDweller(yellow gold)watch,Ref326938,SN 58W365Z2;
          (41) HublotBlg Bang King (rose gold and black dial)watch,Ref322,SN
                762177;
          (42) HublotBigBang King BlackMagic(black titanium and ceramic)watch,
                Ref322,SN 737211;
          (43) HublotBig Bang Chronography Tourbillon 20th Anniversary ofFerrari
               watch,Lim ited 4of20,Ref308.QX.11IO.HR.SCFII,SN 930027;
          (44) HublotKingPower(blacktitanium andceramic)watch,Limited 8of35,
                SN 860397;
          (45) HublotBigBangUEFA (blacktitanium and ceramic)watch,Limited 1557
                of2008,Ref318,SN 739956;
          (46) HublotBig Bang YankeeVictor(stainlesssteel)watch,Limited 29()f100,
                Ref301,SN 689869;
          (47) HublotKingPower(titanium andzirconium,rubberband)watch,Limited
                244 of500,SN 823700;
          (48) HublotKingPowerLavinotintoChronograph(blacktitanium andceramic)
                watch,Lim ited llof40,SN 977783;
          (49) Patek Philippe Nautilus (stainless steel) watch, Ref 5990 / 1A-001,
                M ovem entN o 5998681,SN A 384FBC;
          (50) PatekPhilippeNautilusAnnualCalendar(stainlesssteel)watch,Ref5726/
                lA-001,M ovem entN o 5334786,SN A384FA P;
          (51) Patek PhilippeNautilusmanual(rose gold and stainlesssteel)watch,Ref
                5980 / lA R-001,M ovem entNo 5928544,SN A 3841AP;
          (52) AudemarsPiguetRoyalOak Offshore Chronograph(rosegold and black
               rubberband)watch,Ref381:
                                      50,SN 629840;
          (53) AudemarsPiguetRoyalOakOffshoreSafariChronograph(stainlesssteel
               andbrownband)watch,No5446,Ref26170,SN 643443;
          (54) Audem arsPiguetRoyalOak OffshoreChronograph Bum ble Bee(carbon)
                watch,N o 2376,Ref26176,SN 48097;
          (55) Audem arsPiguetRoyalOak Offshore(stainlesssteel)watch,No 1836,Ref
                26170,SN 6 17332;
          (56) RogerDubuisEasy Diverrrourbidiver(stainless steel)watch,M ovement
                N o RD05,SN 13/88;
          (57) RogerDubuisM uchM ore(rosegold)watch,SN 23/28,stamped750;
          (58) PaneraiLum inorM onopulsanteGM T Chronograph (titanium andceramic)
                watch,Lim ited 1-005 of500,
                                          ,N o 0P6752,RefPA M 00317,SN 88 14:
                                                                            58977;
          (59) PaneraiLuminorSubmersilnleDiversProfessional(stainlesssteel)watch,
                Lim ited .1459 of700,N o OP670l,SN 88 1253185;
          (60) PaneraiLuminor(stainlesssteel)watch,LimitedK198of500,No01P6726,
                SN 1780596207;




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                lW C PilotSpitfire Chronograph PerpetualCalendar(yellow gold) watch,
                No A U750,Ref1W 379103,SN 50741324
                Jaeger Le Coultre M aster Com pressorD iving GM T watch,Ref 159.7-.05,
                SN 2471271;
          (63) Jaeger Le Coultre Master'
                                       CompressorDiving Chronograph (rose gold)
                watch,Ref 160.2.25,SN 2469332;
          (64) Jaeger Le Coultre Master Grande Tradition M inute Repeater manual
               (titanium)watch,Limited65of100,Ref.187.7-.67.5,SN 2653359;
          (65) FrankMullerCasablanca(stainlesssteel)watch,No 10l8,Ref8885C CC
                DT;
          (66) FrankM ullerMariner(stainlesssteeland red dial)watch,No 69,Ref908
                CC AT M ar;
          (67) FrankM ullerMarinerChrorl
                                       k
                                       ograph(stainlesssteelandbluedial)watch,No
                29,Ref8080 CC A T M ar;
          (68) Frank VilaTourbillonPlanetaire Skeleton Superlsigero Concept(titanium)
                w atch,Lim ited 3 of8,RefFV A N 6;
          (69) FrankVilaChronograph(titanium)watch,Limited3of48,RefFVAIO;
          (70) Greubel Forsey GMT GlobalDouble Tourbillon (white gold) watch,
                Lim ited 28 of33,RefG F G M T W G ,stam ped A 1-1750 02 669;
          (71) IW C SchafthausenBigPilotAntoinedeSaintExuperyEdition(rosegold)
                w atch,Lim ited 35 of500,Ref1W 500421,SN 3427442;
                RolexDaytonaCosmograph(yellow goldandbluedial)watch,Ref1l6528,
                SN 52U 549527;

          JpM organ ChaseBankN.A.(UnitedStates)
          (73) Accountnumber000000941600959 held in the name ofDobleA Records
                USA LLC atJpM organ Chase Bank N .A .;

          BankofAmerica (UnitedStates)
          (74) Accountnumber898060394243 held in the name ofTelsey Properties
                Holding LLC atBank ofArl
                                       nerica;
                Accountnum ber8980617711088 held in the name ofDoble A M anagem ent
                LLC atBank ofAm erica;
          (76) Accountnumber898061778091held inthenameofDobleA Farm,LLC at
                Bank ofA m erica;
          (77) Accountnumber89803936-
                                    2866 held inthenameofM alabarM anagement
                LLC atBank ofA m erica;

          WellsFargoBank (UnitedStates)
          (78) Accountnumber5340241792 held inthenameofM alabarM anagement,
                LLC atW ellsFargo Bank;
                A ccount num ber 5536404915 held in the nam e of Telsey Properties
                Holding,LLC atW ellsFargo Bank;and
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           EFG Bank(Switzerland)
           (80) Account number (2114708/680000114931 held in the nam e of Telsey
                   M anagers InternationalInc.atEFG Bank in Sw itzerland.


    Seeattached Consentto Forfeiture!! 5-6,8.
        Il. LEG AL STAN DA RD

           Allproperty,realorpersonal,ûûinvolved in''a violation of 18 U.S.C.j l956,orany
    property traceableto such property,issubjectto forfeitureto theUnited States. 18 U.S.C.j
    982(a)(l). Propertyttinvolvedin''amoneylaunderingoffenseliincludesthatmoneyorproperty
    which wasactually laundered (tthe corpus'),along with Eany commissions or fees paid to the
    laundererl1andanypropertyusedtofacilitatethelaunderingoffense.''' UnitedStatesv.Seher,
    562 F.3d 1344,1368(1lth Cir.2009)(quoting and citing United Statesv.Puche,350 F.3d l137,
     1153 (1lth Cir.2003)). Funds thatare pooled or commingled ûlto facilitate ()rdisguise (a
    defendant'slillegalscheme''areforfeitable. Seeid.(internalquotationsomitted).
            lfa defendantisconvicted ofsuch a violation,the Courtççshallorder''the forfeiture ofthe

    propertyaspartofthesentence. See18U.S.C.j982(a)(1). Aspartofthedefendant'ssentence,
     crim inalforfeiture is governed by the preponderance standard. See United States v.H asson,333

     F.3d 1264,1277(1lth Cir.2003). Seetz/s'
                                           tpfibrettiv.UnitedStates,5l6U.S.29,38-39(1995)
     (holding thatforfeiture is an (ûelementofthe sentence'').A forfeitureordermay be soughtasa
     moneyjudgment. SeeFed.R.Crim.P.32.2(b)(l)(A),(2)(A). Seealso UnitedStatesv.Padron,
     527 F.3d 1156, 1161-62 (11th Cir.2008)(holding thatFederalRules of CriminalProcedure
     Etexplicitly contemplate the entry ofmoney judgments in criminalforfeiture cases''). Upon
     findingthatpropel'
                      tyissubjecttoforfeiture,theCourt:
               . . .   m ustprom ptly entera prelim inary order of forfeiture setting forth the
               amount of any money judgment,directing the forfeiture of specific


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               property, and directing the fol
                                             rfeiture of any substitute property if the
               governm enthasm etthe statutol'
                                             y criteria.

    Fed.R.Crim.P.32.2(b)(2)(A).
           TheCoul'
                  tdeterminestheamountofthemoneyjudgmentûibasedon evidencealready in
    the record, including any w ritten plea agreem ent,and any additionalevidence or inform ation

    subm itted by the parties and accepted by the coul'
                                                      tas relevant and reliable.'' Fed.R.Crim .P.

    32.2(b)(1)(B). Theamountofthemoneyjudgmentshould representthefullsum oftheillegal
    proceeds,regardlessofthedefendant'sabilitytosatisfythejudgmentatthetimeofsentencing.
    SeeUnitedStatesv.McKay,506F.Supp.2d 1206,l211(S.D.Fla.2007)(adoptingthemajority
    rule). Seealso UnitedStatesv.Blackman,746F.3d 137,143-44 (4thCir.2014)(tt'
                                                                             I'hefactthata
    defendantisindigentorotherwiselacksadequateassetstosatisfyajudgmentdoesnotoperateto
    frustrate entry ofa forfeitureorder. ...To concludeotherwisewould enable wrongdoersto avoid

    forfeiture merely by spending theirillegitimate gainspriorto sentencing.'');United States v.
     VampireNation,451F.3d 189,20l-03(31-dCir.2006)(moneyjudgmentsEûareappropriateeven
    where the amountofthe judgmentexceeds the defendant's available assets atthe time of
     conviction'');Unitedstatesv.Hall,434F.3d42,59(1stCir.2006)(çû...gFlvenifadefendantdoes
     nothave sufficientfundsto coverthe forfeitureatthetim eofthe conviction,the governm entm ay

     seizefutureassetstosatisfytheorder.'').
            lf directly forfeitable propcrty is not available,the Court m ay order the forfeiture of

     substituteassetstosatisfyamoneyjudgment. See21U.S.C.j853(p)'
                                                                ,28U.S.C.j246l(c);Fed.
     R.Crim.P.32.2(e). Substituteassetsareavailableforforfeitureupon ashowingthat,dueto the
     defendant'sactorom ission,directly forfeitableproperty;

            (Alcannotbelocatedupontheexerciseofduediligence',
            (B)hasbeentransferredorsoldto,ordepositedwith,athirdparty;
            (C)hasbeenplacedbeyondthejurisdictionofthecourt;
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            (Dlhasbeen substantially diminishedin value;or
            (E)hasbeen commingledwith otherpropertywhich cannotbedivided withoutdifficulty.
     21 U.S.C.j853(p). The governmentmay establish such unavailability through an agent's
     declaration. See United Statesv.Seher,562 F.3d 1344,l373 (11th Cir.2009).
        111. D ISCU SSIO N

            Based on the D efendant's guilty plea, the Plea Agreement, the Factual Proffer, the

     Presentence Investigation Report,and the Consentto Forfeiture,the totalvalue ofthe property,

     realorpersonal,laundered to,by,and/orfbrthe D efendant's benefitand involved in the money

     laundering conspiracy charged in the lnformation was at least $1 billion in U.S.currency.
     Pursuantto Rule 32.2 of the FederalRules of Crim inalProcedure,this sum m ay l)e soughtas a

     forfeituremoneyjudgment.
            ln addition,becausethe SubjectAssetswere involved in theDefendant'sconspiracy to
     commitmoneylaunderingcharged inthe l
                                        f
                                        nfonnation,theyaresubjecttoforfeiture,pursuantto
     18U.S.C.j 982(a)(1).
            A ccordingly, the U nited States respectfully requests the Court to issue the attached

     proposed order,which provides fora Prelilninary OrderofForfeiture entering a forfeiture m oney

     judgmentof$1billion in U.S.currency andtheforfeitureofcertain assetsinpartialsatisfaction
     thereof'
            , direct notice and publication of notice of the forfeiture'
                                                                       , preservation of property;

     perm ission to conduct discovery to locate assets ordered forfeited and/or to expedite ancillary

     proceedingsfortheadjudicationofthird-partypetitions,ifany;andfinalforfeitureoftheproperty.
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            W HEREFORE,pursuantto l8U.S.C.j982(a)(1)andtheproceduressetfol'
                                                                          thin21U.S.C.
     j853 and Rule 32.2(b)(2) ofthe FederalRules of CriminalProcedure,the United States
     respectfully requeststhe entry ofthe attached order.

                                                 Respectfully subm itted,

                                                 ARIA NA FAJARDO ORSHAN
                                                 UN ITED STATES ATTO RNEY
                                                        *

                                          By:    s/Nalina om buntham
                                                 Nalina Som buntham
                                                 A ssistantU nited StatesAttorney
                                                 Fla.BarN o.96l39
                                                 99 N .E.4th Street,7th Floor
                                                 M iam i,Florida 33l32-211l
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                                                 Facslmile: (305)536-7599
                                                 nalina.sombunthamz@usdoj.gov

                               LO CA L RU LE 88.9 C ERTIFICATIO N

            The undersigned counselhereby certifiesthaton October3l,20l8,aftercirculating draft

     copies of this m otion and the proposed order,Defendant and his defense counselexecuted the

     attached Consentto Forfeiture and confirm ed theirconsentto the proposed forfeiture.

                                                 s/N alina Sombuntham
                                                 N alina Som buntham
                                                 AssistantUnited StatesAttorney


                                    C ER TIFICA TE O F SERVICE

            lHEREBY CERTIFY thata true and correctcopy ofthe foregoing wasserved via e-m ail

     on allpartieson N ovem ber 1,2018.

                                                 s/Nalina Som buntham
                                                 Nalina Som buntham
                                                 A ssistantUnited StatesA ttorney
